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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

AIRE TECHNOLOGY LTD.,               §
                                    §
              Plaintiff,            §
                                    §
     v.                             §   CIVIL ACTION NO. 6:21-cv-01104-ADA
                                    §
GOOGLE LLC,                         §   JURY TRIAL DEMANDED
                                    §
              Defendant.
                                    §
                                    §

                   GOOGLE LLC’S MOTION TO DISMISS
          PLAINTIFF’S ALLEGATIONS OF INDIRECT INFRINGEMENT
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I.     INTRODUCTION

       Defendant Google LLC respectfully requests that the Court dismiss Plaintiff Aire

Technology Ltd.’s (“Aire”) claims of induced and contributory infringement. Aire fails to allege

facts that could plausibly support these claims for relief and instead rests on generic assertions and

boilerplate recitations of legal standards.

       In particular, Aire alleges no facts to support the elements of its indirect infringement

claims, including any pre-suit knowledge of the asserted patents. Aire further fails to plead any

specific acts of inducement by Google, alleging only that Google provides “user manuals and

online instruction materials” (Dkt. 1 ¶¶ 20, 31, 43, 54), without reciting any facts plausibly

showing that Google intended any third parties to infringe or knew that the third parties’ acts

constituted infringement. And for contributory infringement, Aire neither identifies any

component made or sold by Google that is allegedly combined into an infringing combination nor

alleges facts supporting that the accused devices are not suitable for any noninfringing use.

       In short, Aire’s conclusory and unsupported allegations fail to meet the Iqbal and Twombly

standard for stating a claim and should be dismissed.

II.    STATEMENT OF FACTS

       Aire filed the complaint in this case on October 25, 2021, asserting infringement of U.S.

Patent Nos. 8,581,706; 8,816,827; 8,205,249; and 8,174,360 (together, the “Patents-in-Suit”). Dkt.

1. Aire defines the “Accused Products” in this case as including the following smartphones: Pixel,

Pixel XL, Pixel 2, Pixel 2 XL, Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL,

Pixel 4a, Pixel 4a (5G), Pixel 5, Pixel 5a (5G), Pixel 6, and Pixel 6 Pro. Id. ¶ 12. The complaint

alleges direct, induced, and contributory infringement of the Patents-in-Suit. Id. ¶¶ 13‒57.

       Regarding induced infringement, the entirety of Aire’s allegations are as follows:




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                As of at least the filing and service of this complaint, Google has
                knowledge of the [Patents-in-Suit] and the infringing nature of the
                Accused Products. Despite this knowledge of the [Patents-in-Suit],
                Google continues to actively encourage and instruct its customers
                and end users (for example, through user manuals and online
                instruction materials on its website, and other online publications
                cited above) to use the Accused Products in ways that directly
                infringe the [Patents-in-Suit], for example by utilizing the NFC
                functionality on the Accused Products [and/or mobile payment
                applications, such as Google Pay], in an infringing manner. Google
                does so knowing and intending (or with willful blindness to the fact)
                that its customers and end users will commit these infringing acts.
                Google also continues to make, use, offer for sale, sell, and/or import
                the Accused Products, despite its knowledge of the [Patents-in-Suit],
                thereby specifically intending for and inducing its customers to
                infringe the [Patents-in-Suit] through the customers’ normal and
                customary use of the Accused Products.

Id. ¶¶ 20, 31, 43, 54 (italicized language omitted from paragraph 54).

        In regards to contributory infringement, Aire makes only the boilerplate allegations that:

                Google has also infringed, and continues to infringe, one or more
                claims of the [Patents-in-Suit] by selling, offering for sale, or
                importing into the United States, the Accused Products, knowing
                that the Accused Products constitute a material part of the inventions
                claimed in the [Patents-in-Suit], are especially made or adapted to
                infringe the [Patents-in-Suit], and are not staple articles or
                commodities of commerce suitable for non-infringing use. Google
                has been, and currently is, contributorily infringing the [Patents-in-
                Suit] in violation of 35 U.S.C. §§ 271(c) and/or (f).

Id. ¶¶ 21, 32, 44, 55.

III.    LEGAL STANDARD

        To survive a Rule 12(b)(6) motion to dismiss for failure to state a claim, “a complaint must

contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570 (2007)); Fed. R. Civ. P. 12(b)(6). The plausibility standard is not met unless the “plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is




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liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (emphasis added). “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

IV.    ARGUMENT

       The Court should dismiss Aire’s indirect infringement claims for four reasons. First, Aire

fails to plead facts of pre-suit indirect infringement. Second, Aire also fails to plausibly plead

indirect infringement since the filing of the complaint. Third, and specifically for induced

infringement, Aire does not allege any facts to support that Google committed any acts of

inducement; instead, Aire provides vague assertions about “manuals” and “materials” provided to

customers. Fourth, as to contributory infringement, Aire has not identified any specific component

that is part of an infringing combination, nor has Aire shown that the accused devices are not

suitable for noninfringing use.

       A.      The pre-suit indirect infringement claims should be dismissed because Aire
               doesn’t allege pre-suit knowledge of the Patents-in-Suit let alone knowledge
               of their alleged infringement.

       Claims for contributory and induced infringement require both “knowledge of the patent

in suit and knowledge of patent infringement.” Commil USA, LLC v. Cisco Sys., Inc., 575 U.S.

632, 639 (2015) (citation omitted); see also Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S.

754, 765–66 (2011).

       Aire makes no effort to plead that Google had pre-suit knowledge of the Patents-in-Suit let

alone knowledge that it was infringing these patents; rather, Aire alleges only that Google has the

knowledge through “the filing and service of this complaint.” Dkt. 1 ¶¶ 20, 31, 43, 54. This

allegation necessarily cannot establish pre-suit indirect infringement.

       This Court has dismissed indirect infringement allegations that fail to plead pre-suit

knowledge. In Castlemorton Wireless, LLC v. Bose Corp., this Court dismissed indirect pre-suit

infringement claims because the “complaint does not plead any facts that would support an


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allegation of pre-suit knowledge.” No. 6:20-CV-00029-ADA, 2020 WL 6578418, at *5 (W.D.

Tex. July 22, 2020). For the same reasons, Aire’s allegations that Google became aware of the

Patents-in-Suit via filing of the complaint cannot support claims of pre-suit indirect infringement

and these claims should be dismissed.

       Aire’s mere invocation of the phrase “willful blindness” likewise cannot save its deficient

indirect infringement allegations. See Global-Tech Appliances, 563 U.S. at 766, 769 (holding that

“induced infringement under § 271(b) requires knowledge that the induced acts constitute patent

infringement” or at least “willful blindness” to the likelihood of infringement). A showing of

willful blindness requires that “(1) the defendant must subjectively believe that there is a high

probability that a fact exists and (2) the defendant must take deliberate actions to avoid learning of

that fact.” Id. at 769. A plaintiff who relies on willful blindness to plead knowledge must identify

in its complaint, at least, “affirmative actions taken by the defendant to avoid gaining actual

knowledge of the patent to escape dismissal.” Kirsch Rsch. & Dev., LLC v. Tarco Specialty Prods.,

Inc., No. 6:20-cv-00318-ADA, 2021 WL 4555802 at *2 (W.D. Tex. Oct. 4, 2021) (citations

omitted). Aire, however, merely states that “Google does so [encourages infringement] knowing

and intending (or with willful blindness to the fact) that its customers and end users will commit

these infringing acts.” Dkt. 1 ¶¶ 20, 31, 43, 54. This Court has held that similar allegations are

insufficient to support a claim for indirect infringement. In Kirsch, Plaintiff alleged: “‘Defendant

has been willfully blind to its infringement of the ’482 Patent by, for example, ignoring the patent

markings on both Kirsch’s practicing products and its literature.’ [] This is simply not enough.”

Kirsch, 2021 WL 4555802, at *2 (dismissing induced and willful infringement claims based on

willful blindness). The allegations here are even more scant and should likewise be dismissed.




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Indeed, Aire has not alleged any facts supporting that Google was willfully blind “to the likelihood

of infringement.” Id.; See Global-Tech Appliances, 563 U.S. at 766, 769.

       B.      The post-suit indirect infringement claims should be dismissed because the
               complaint does not allege the requisite knowledge.

       Aire’s claims for indirect infringement after the filing of its complaint also fail because

they rely entirely on the service of the complaint for knowledge of the Patents-in-Suit and their

infringement. This Court has dismissed post-suit induced infringement claims where the

allegations of knowledge of the asserted patent were based on the complaint and the allegations of

acts of indirect infringement were generic. Proven Networks v. NetApp, No. 6:20-cv-00369-ADA,

Text Order (W.D. Tex. Mar. 31, 2021). In Proven Networks, the parties argued at length in the

briefing regarding whether knowledge of the patents stemming from the complaint itself could

support a claim of post-suit induced infringement and the Court found that it could not and

dismissed the claims. Id. (granting motion to dismiss induced infringement claims without

prejudice). Other courts in this District have likewise found that knowledge based on the filing of

a lawsuit is “insufficient to plead the requisite knowledge for indirect infringement.” Aguirre v.

Powerchute Sports, LLC, No. SA–10–CV–0702 XR, 2011 WL 2471299, at *2–3 (W.D. Tex. June

17, 2011) (report and recommendation dismissing indirect infringement claims that defendant “has

been and now is . . . indirectly infringing”); see also Aguirre v. Powerchute Sports, LLC, No. SA–

10–CV–0702 XR, 2011 WL 3359554, at *6 (W.D. Tex. Aug. 4, 2011) (granting motion to dismiss

indirect infringement claims).

       In seeking dismissal, Google acknowledges that this Court denied a motion to dismiss post-

suit indirect infringement allegations, but did so in the context of a motion focused largely on pre-

suit indirect infringement and without citing to any other legal authority. See USC IP P’ship, L.P.

v. Facebook, Inc., No. 6:20-CV-00555-ADA, 2021 WL 3134260, at *2–3 (W.D. Tex. July 23,



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2021); Dkts. 9, 14. Because the parties more substantively discussed the issue of post-suit indirect

infringement in the Proven Networks case, it serves as this Court’s more on-point authority as to

that issue.

        As a Delaware court recently explained in dismissing indirect infringement claims where

knowledge was pleaded based only on the filing of the complaint: “the limited resources made

available to our courts by Congress counsel against encouraging plaintiffs to create claims by filing

claims,” and it is “neither wise nor consistent with principles of judicial economy to allow court

dockets to serve as notice boards for future legal claims for indirect infringement and enhanced

damages.” ZapFraud, Inc. v. Barracuda Networks, Inc., 528 F. Supp. 3d 247, 251 (D. Del. 2021).

Thus, “the complaint itself cannot be the source of the knowledge required to sustain claims of

induced infringement and willfulness-based enhanced damages.” Id. at 250.

        Accordingly, Aire’s indirect infringement claims, which rely entirely on service of the

complaint to establish knowledge of the Patents-in-Suit, should be dismissed.

        C.     Aire’s induced infringement claims should be dismissed because it does not
               plead sufficient facts regarding inducement.

        This Court has dismissed indirect infringement claims when the plaintiff asserted only that

“[defendant] provid[es] instructions on how to use its products and/or services in a manner or

configuration that infringes one or more claims of the Asserted Patents, including those found at

www.LG.com and in product literature.” Ikorongo Tech. LLC v. LG Elecs. Inc., No. 6:20-cv-257-

ADA, Text Order (W.D. Tex. Mar. 31, 2021); id. at Dkt. 16 at 7–8. Other courts are in accord. In

Hypermedia Navigation LLC v. Google LLC, for example, the court dismissed induced

infringement claims, explaining that “passing references to user manuals, guides, and support

articles, without ever saying what those materials contain, [are] wholly inadequate for an inference

of specific intent.” No. 18-CV-06137-HSG, 2019 WL 1455336, at *2 (N.D. Cal. Apr. 2, 2019)



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(citations omitted). And in Dodots Licensing Solutions, LLC v. Lenovo Holding Co., the court

dismissed induced infringement claims based on allegations that the “Defendants induce

infringement [] and intend to do so, through their . . . product manuals, and other materials such as

their website.” No. CV 18-098 (MN), 2018 WL 6629709, at *4 (D. Del. Dec. 19, 2018).

       Aire’s inducement claims are based on similarly generic allegations and should be

dismissed. Aire relies on the vague allegation that “Google continues to actively encourage and

instruct its customers and end users (for example, through user manuals and online instruction

materials on its website, and other online publications cited above) to use the Accused Products in

ways that directly infringe the [Patents-in-Suit], for example by utilizing the NFC functionality on

the Accused Products [and/or mobile payment applications, such as Google Pay], in an infringing

manner.” Dkt. 1 ¶¶ 20, 31, 43, 54. While Aire includes some screenshots from Google’s websites,

Aire’s complaint does not even purport to back up its allegation that the cited materials instruct

customers to use NFC “in an infringing manner.” Such generic allegations are insufficient to state

a claim for induced infringement.

       D.      Aire’s contributory infringement claims should be dismissed because Aire
               does not identify what Google component infringes or that any such
               component has no noninfringing use.

       A complaint for contributory infringement must include facts supporting the plausibility,

among other things, that (1) “the defendant supplies a component that is a material part of a

patented invention” and (2) “the component is not a staple article or commodity suitable for

noninfringing use.” Joao Control & Monitoring Sys., LLC v. Protect Am., Inc., No. 1-14-CV-

134LY, 2015 WL 3513151, at *5 (W.D. Tex. Mar. 24, 2015) (citing In re Bill of Lading

Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1337 (Fed. Cir. 2012)). Here, Aire

has not identified any Google component that is combined into an infringing combination. Instead,




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it identifies entire devices: the “Accused Products”. Nor has Aire made any attempt to show that

the Accused Products are not suitable for noninfringing use.

       First, Aire asserts that Google contributorily infringes by selling the Accused Products

“knowing that the Accused Products constitute a material part of the inventions claimed in the

[Patents-in-Suit], [and] are especially made or adapted to infringe the [Patents-in-Suit].” Dkt. 1 ¶¶

21, 32, 44, 55. But as Aire’s allegations in the complaint show, under its infringement theories, the

Google devices accused of infringement are smartphones including: the “Pixel, Pixel XL, Pixel 2,

Pixel 2 XL, Pixel 3, Pixel 3 XL, Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, Pixel 4a, Pixel 4a (5G),

Pixel 5, Pixel 5a (5G), Pixel 6, and Pixel 6 Pro[.]” Id. ¶ 12. These smartphones are not components

of any larger, accused combination. To the extent Aire is accusing any Google “components,” they

cannot logically be the devices themselves.

       Second, Aire’s complaint contains only a single sentence per asserted patent stating,

without any facts, that the accused devices “are not staple articles or commodities of commerce

suitable for non-infringing use.” Id. ¶¶ 21, 32, 44, 55. Setting aside the conclusory nature of this

allegation, it is implausible based on a comparison of the subject matter of the Patents-in-Suit to

the accused smartphones. For example, Aire alleges that the Accused Products infringe the Patents-

in-Suit by using and supporting near field communication (id. ¶¶ 15, 26, 49) and “support[ing]

mobile payment applications, such as Google Pay, which enable a security-operation within a

secure electronic transaction” (id. ¶ 37). But the Accused Products are not especially designed for

these purposes only. To the contrary, the accused smartphones can be used without ever using their

NFC functionality to make a payment—for example, to make a phone call.

       In Joao, the Court dismissed similar contributory infringement allegations, finding that

“the paragraphs containing Joao’s pleading of contributory infringement are thin of fact and consist




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of conclusory allegations that merely recite the elements of contributory infringement.” Joao, 2015

WL 3513151, at *5. “At a minimum,” the Court explained, “it is unclear to the court how the

components listed as ‘accused products’ do not have noninfringing uses.” Id. As in Joao, Aire has

made no attempt to explain how the Accused Products are not suitable for noninfringing use.

       Aire has not specifically identified a Google component, only entire devices. Nor has Aire

alleged that these devices are especially adapted to be used in an infringing combination or shown

that the Accused Products are not suitable for noninfringing use. Aire’s contributory infringement

claims should therefore be dismissed.

V.     CONCLUSION

       Aire alleges no facts to support the elements of its indirect infringement claims, including

pre-suit knowledge of the Patents-in-Suit and knowledge of infringement. Aire’s inducement

claims fail because they lack specific acts of inducement by Google. And its contributory

infringement claims fail because they do not identify any component made or sold by Google that

is allegedly combined into an infringing combination that has no noninfringing use. Google

therefore respectfully requests dismissal of Aire’s indirect infringement claims.




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DATED: January 6, 2022              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on January 6, 2022, all counsel of record who have appeared in these cases are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                      /s/ Paige Arnette Amstutz
                                                     Paige Arnette Amstutz




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